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                                              UNITED STATES DISTRICT COURT
                                               MIDDLE DISTRICT OF FLORIDA
                                                     TAMPA DIVISION

                                             CASE NO.: 8:16- CV-02324-EAK-TBM



         EVANSTON INSURANCE COMPANY,

                     Plaintiff,

         v.

         WILLIAM KRAMER & ASSOCIATES,
         LLC,

               Defendant.
         __________________________________/


                                      DEFENDANT’S NOTICE OF APPEARANCE

                   John Cody German, Esq. of COLE, SCOTT & KISSANE, P.A. hereby gives

        notice of his appearance on behalf of Defendant, WILLIAM KRAMER & ASSOCIATES,

        LLC, and requests that copies of all motions, notices, and other pleadings heretofore or

        hereafter filed or served in this cause be furnished to the undersigned.




                                                       COLE, SCOTT & KISSANE, P.A.
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                                                                                     CASE NO.: 8:16-cv-02324-EAK-TBM



                                                   CERTIFICATE OF SERVICE

                   I HEREBY CERTIFY that on this 31st day of October, 2019, a true and correct

        copy of the foregoing has been furnished by electronic filing with the Clerk of the court

        via CM/ECF, which will send notice of electronic filing to all counsel of record.


                                                                    COLE, SCOTT & KISSANE, P.A.
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                                                                    ASSOCIATES, LLC
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                                                           By: s/ John Cody German
                                                               JOHN CODY GERMAN
                                                               Florida Bar No.: 58654




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